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                                         JOINT STATUS REPORT

Plaintiff(s):
Mary Johns


Defendant(s):
University of South Carolina and Dr. David Snyder


Cause of Action Number(s):
42 U.S.C. § 1983 (Snyder); Reckless Infliction of Emotional Distress (Snyder); Negligence (USC); Civil Assault and Battery
(Snyder); Breach of Fiduciary Duty (USC);

Date filed:
Filed in State Court on March 22, 2021 and Removal to District Court filed on 4/23/2021


Plaintiff’s Attorney(s) (specifying which attorney is representing which Plaintiff):
S. Randall Hood


Defendant’s Attorney(s) (specifying which attorney is representing which Defendant):
Carey Ayer, Matthew Rogers and Patrick Frawley - Attorneys for Defendant University of South Carolina
Damon C Wlodarczyk - Attorney for Defendant Dr. David Snyder

Locale where dispute arose:
Columbia, SC (Richland County)


Date when dispute arose:
Spring semester 2018


Brief non-argumentative synopsis of the case (should be suitable to read to the jury venire):
Plaintiff alleges that while she was enrolled at the University of South Carolina in 2018, her professor Dr. David Snyder engaged
in inappropriate conduct towards her. Plaintiff alleges Dr. Snyder groomed her, emailed her offensive things and had physical
contact with her. The Plaintiff alleges other USC employees failed to advise her of remedies. Defendants deny all claims.

Pending Motions:
Plaintiff and Defendants have pending Motions in Limine.


Has this case already been continued? Yes.                     If yes, how many times?


Requests for Protection:
Aug 12-16 (Plaintiff expert); October 21-November 11, 2024 (Hood-Plaintiff); August 26-September 6, 2024 (Ayer - Defendant
USC); September 9-30 (Rogers - Defendant USC); September 2-20 (Wlodarczyk - Defendant Snyder)

Length of Trial and Three Agreed Upon Preferred Dates for the Trial During this Term of Court:
1 week
Jointly agreed: 1. October 7, 2024, 2. October 14, 2024, and 3. August 19, 2024 (there are many conflicts, third choice)

Has this case been mediated? Yes                      Please provide relevant dates. Oct. 27, 2023 and March 27, 2024

s/S. Randall Hood                                    s/Matthew Rogers and s/Damon C. Wlodarczyk
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Counsel for Plaintiff                                 Counsel for Defendant
